          Case:3:21-cv-00485-JCS
          Case  22-15103, 06/09/2023, ID: 12732369,
                                  Document          DktEntry:
                                             106 Filed        83, Page
                                                       06/09/23    Page11ofof22




                      UNITED STATES COURT OF APPEALS                       FILED
                             FOR THE NINTH CIRCUIT                          JUN 9 2023
                                                                       MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
JOHN DOE #1; JOHN DOE #2,                         Nos. 22-15103

                  Plaintiffs-Appellees,           D.C. No. 3:21-cv-00485-JCS
                                                  Northern District of California,
    v.                                            San Francisco

TWITTER, INC.,                                    ORDER

                  Defendant-Appellant.


JOHN DOE #1; JOHN DOE #2,                         No.   22-15104

                  Plaintiffs-Appellants,          D.C. No. 3:21-cv-00485-JCS
                                                  Northern District of California,
    v.                                            San Francisco

TWITTER, INC.,

                  Defendant-Appellee.

Before: VANDYKE and SANCHEZ, Circuit Judges, and S. MURPHY, III,*
District Judge.

         Judges VanDyke and Sanchez have voted to deny rehearing en banc, and

Judge Murphy has recommended to deny the same. The full court has been advised

of the petition for rehearing en banc, and no judge has requested a vote on whether



*
  The Honorable Stephen Joseph Murphy III, United States District Judge for the
Eastern District of Michigan, sitting by designation.
        Case:3:21-cv-00485-JCS
        Case  22-15103, 06/09/2023, ID: 12732369,
                                Document          DktEntry:
                                           106 Filed        83, Page
                                                     06/09/23    Page22ofof22




to rehear the matter en banc. Fed. R. App. P. 35. The panel judges have voted to

deny the petition for panel rehearing.

      Accordingly, Plaintiffs’ petition for panel rehearing and rehearing en banc,

filed May 17, 2023 (Docket Entry No. 80 in Case No. 22-15103 and Docket Entry

No. 78 in Case No. 22-15104), is DENIED.




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